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David N. Vozza, Esq. (DV-1132)
Norris McLaughlin, P.A.
7 Times Square, 21st Floor
New York, New York 10036
(212) 808-0700
Counsel for Rockaway Beach LLC


UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------X
 ELIZABETH FLINT,

                                             Plaintiff,                  Civil Action No.: 1:22-cv-04458-
         -against-                                                       ENV-JRC

 ROCKAWAY BEACH LLC AND EMPIRE MEDICAL                                   ANSWER TO COMPLAINT
 OF ROCKAWAY BEACH, P.C.,

                                              Defendants.
 --------------------------------------------------------------------X


        The defendant ROCKAWAY BEACH, LLC (“Rockaway” or “defendant”) answering

the Complaint herein states as follows:

        1.       Rockaway denies knowledge or information sufficient to form a belief as to the

    allegations set forth in paragraph “1” of the Complaint.

        2.       Rockaway neither admits nor denies the allegations set forth in paragraphs “2” and

    “3” of the Complaint insofar as they allege that a lawsuit has been filed for declaratory,

    injunctive, and equitable relief as well as for monetary damages and attorney’s fees, but

    specifically denies that plaintiff was discriminated against on any basis or that she received a

    lower quality of care resulting from alleged violations of state or federal statutes.

        3.       Rockaway denies the allegations set forth in paragraph “4” of the Complaint.




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      4.      Rockaway denies the form of the allegations set forth in paragraph “5” of the

   Complaint, except admits that Rockaway owns and leases property to Empire Medical of

   Rockaway Beach, P.C. (“Empire”). Rockaway denies the property is inaccessible and denies

   any vicarious liability for unidentified individuals.

      5.      Rockaway denies the form of the allegations set forth in paragraph “6” of the

   Complaint and denies knowledge or information sufficient to form a belief as to the allegations

   that plaintiff and other persons with disabilities were provided a lower quality of care than non-

   disabled patients.

      6.      Rockaway denies the allegations set forth in paragraph “7” of the Complaint in the

   form alleged, except admits that plaintiff’s disability, as alleged, would require her to

   overcome architectural gateway barriers, which Rockaway denies that any such barriers

   existed at the premises. Rockaway denies knowledge or information sufficient to form a belief

   as to the allegations related to training and the care and treatment of patients.

      7.      Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraph “8” of the Complaint.

      8.      Rockaway denies the allegations set forth in paragraph “9” of the Complaint.

      9.      Rockaway denies the form of the allegations set forth in paragraph “10” of the

   Complaint, except denies the allegations as asserted against Rockaway.

      10.     Rockaway denies the allegations set forth in paragraphs “11”, “12”, “13” and “14”

   of the Complaint.

                                JURISDICTION AND VENUE

      11.     Rockaway neither admits nor denies the allegations contained in paragraphs “15”

   and “16 of the Complaint to the extent that they purport to establish the bases of subject matter


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   jurisdiction and venue and defers to the Court, without raising objection, to ultimately

   determine all legal issues pertaining to jurisdiction and venue.

                                           PARTIES

      12.     Rockaway denies knowledge or information sufficient to form a belief as to the

   allegations set forth in paragraph “17” of the Complaint.

      13.     Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraph “18” of the Complaint.

      14.     Rockaway admits the allegation contained in paragraph “19” of the Complaint.

      15.     Rockaway denies the allegations set forth in paragraph “20” of the Complaint in

   the form alleged, except admits that Rockaway leases the property located at 8820 Rockaway

   Beach Blvd to Empire Medical of Rockaway Beach, P.C.

      16.     Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraph “21” of the Complaint.

      17.     Rockaway denies the allegations set forth in paragraph “22” of the Complaint in

   the form alleged, except admits that Rockaway is authorized to do business in the State of New

   York under the Limited Liability Company Law of the State of New York.

      18.     Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraph “23” of the Complaint.

      19.     Rockaway denies the allegations set forth in paragraph “24” of the Complaint in

   the form alleged, except admits that plaintiff received medical care at Empire’s office located

   at 8820 Rockaway Beach Blvd, Queens, NY 11693.

      20.     Rockaway denies the allegations set forth in paragraph “25” of the Complaint.




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      21.     Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraphs “26”, “27”, “28”, “29”, “30”, “31”, “32”, “33”,

   “34”, “35”, “36” and “37” of the Complaint.

            ANSWERING THE ALLEGATIONS COMMON TO ALL PARTIES

      22.     Rockaway denies the allegations set forth in paragraph “38” of the Complaint in

   the form alleged except admits that Rockaway is a place of public accommodation under the

   Administrative Code of the City of New York and the Code of Federal Regulations.

      23.     Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraph “39” of the Complaint.

      24.     Rockaway denies the allegations set forth in paragraph “40” of the Complaint,

   except admits that plaintiff is a person with a disability.

      25.     Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraphs “41”, “42”, “43”, and “44” of the Complaint.

      26.     Rockaway denies the allegations set forth in paragraphs “45”, “46”, “47”, and “48”

   of the Complaint.

      27.     Rockaway denies the allegations set forth in paragraph “49 inclusive of parts I

   through VII” of the Complaint and denies knowledge or information sufficient to form a belief

   as to the allegations set forth in paragraph “49 parts VIII through X” of the Complaint.

      28.     Rockaway denies the allegations set forth in paragraphs “50”, “51”, “52”, “53”,

   “54”, and “55” of the Complaint.

      29.     Rockaway denies knowledge or information sufficient to form a belief as to the

   allegations set forth in paragraph “56” of the Complaint.

                       ANSWERING THE FIRST CAUSE OF ACTION

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      30.       In answer to the allegations contained in paragraph “57” of the Complaint,

   Rockaway repeats and reiterates each and every response to the allegations contained in

   paragraphs “1” through “56” as though fully set forth at length herein.

      31.       Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraph “58” of the Complaint.

      32.       Rockaway denies the allegations in paragraphs “59” and “60” of the Complaint in

   the form alleged as they seek an admission on an ultimate question of law and Rockaway

   respectfully refers all questions of law to the Court.

      33.       Rockaway denies the allegations in paragraphs “61”, “62”, “63”, “64”, “65”, “66”,

   “67”, “68”, “69”, “70”, “71”, “72” and “73” of the Complaint.

                     ANSWERING THE SECOND CAUSE OF ACTION

      34.       In answer to the allegations contained in paragraph “74” of the Complaint,

   Rockaway repeats and reiterates each and every response to the allegations contained in

   paragraphs “1” through “73” as though fully set forth at length herein.

      35.       Rockaway denies the allegations in paragraphs “75” and “76” of the Complaint in

   the form alleged as they seek admissions on an ultimate question of law and Rockaway

   respectfully refers all questions of law to the Court.

      36.       Rockaway denies knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in paragraphs “77”, “78”, “79”, “80”, “81”, and “82” of the

   Complaint.




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                     ANSWERING THE THIRD CAUSE OF ACTION

      37.     In answer to the allegations contained in paragraph “83” of the Complaint,

   Rockaway repeats and reiterates each and every response to the allegations contained in

   paragraphs “1” through “82” as though fully set forth at length herein.

      38.     Rockaway denies the form of the allegations in paragraph “84” of the Complaint

   except admits that plaintiff suffers from a disability and, to the extent that the allegations seek

   an admission on an ultimate question of law, Rockaway refers all such questions to the Court.

      39.     Rockaway neither admits nor denies paragraph “85” of the Complaint which quotes

   language from Executive Law § 300 and speaks for itself and, to the extent that the allegations

   seek an admission on an ultimate question of law, Rockaway refers all such questions to the

   Court.

      40.     Rockaway neither admits not denies paragraph “86” of the Complaint and

   respectfully refers all such questions of law to the Court.

      41.     Rockaway denies the allegations set forth in paragraphs “87”, “88”, “89”, “90”,

   “91”, “92”, “93” and “94” of the Complaint.

                    ANSWERING THE FOURTH CAUSE OF ACTION

      42.     In answer to the allegations contained in paragraph “95” of the Complaint,

   Rockaway repeats and reiterates each and every response to the allegations contained in

   paragraphs “1” through “94” as though fully set forth at length herein.

      43.     Rockaway denies the form of the allegations set forth in paragraph “96” of the

   Complaint except admits that plaintiff suffers from a disability and, to the extent that the

   allegations seek an admission on a question of law, Rockaway refers all such questions to the

   Court.

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      44.     Rockaway neither admits nor denies the allegations set forth in paragraph “97” of

   the Complaint and refers questions of law to the Court.

      45.     Rockaway denies the allegations in paragraphs “98”, “99”, “100”, “101”, “102”,

   and “103” of the Complaint.

      46.     Rockaway denies the form of the allegations set forth in paragraph “104” of the

   Complaint as they seek admissions on a question of law and Rockaway refers all such questions

   to the Court.

      47.     Rockaway denies the allegations set forth in paragraphs “105”, “106”, “107”, “108,

   “109”, “110”, “111”, “112”, “113”, “114” and “115” of the Complaint.

                       ANSWERING THE FIFTH CAUSE OF ACTION

      48.     In answer to the allegations contained in paragraph “116” of the Complaint,

   Rockaway repeats and reiterates each and every response to the allegations contained in

   paragraphs “1” through “115” as though fully set forth at length herein.

      49.     Rockaway denies the allegations set forth in paragraphs “117”, “118”, and “119”

   of the Complaint.

         ANSWERING PLAINTIFF’S REQUEST FOR INJUNCTIVE REFLIEF

      50.     Rockaway denies the allegations set forth in paragraphs “120”, “121”, and “122”

   of the Complaint.

                             FIRST AFFIRMATIVE DEFENSE

      51.     Plaintiff has not established that she is entitled to injunctive or declaratory relief.




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                           SECOND AFFIRMATIVE DEFENSE

      52.     Plaintiff is not entitled to punitive damages.

   WHEREFORE, Rockaway demands judgment dismissing the Complaint in its entirety

   together with the costs and disbursements incurred in defense of this lawsuit.

      Dated: December 22, 2022
             New York, New York


                                                    NORRIS McLAUGHLIN, P.A.




                                                    By:
                                                    __________________________
                                                    David N. Vozza, Esq. (DV-1132)
                                                    Norris McLaughlin, P.A.
                                                    7 Times Square, 21st Floor
                                                    New York, New York 10036
                                                    Telephone: (212) 808-0700
                                                    E-Mail: dnvozza@norris-law.com
                                                    Attorneys for Defendant, Rockaway Beach
                                                    LLC




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